       Case 2:13-cr-06053-EFS           ECF No. 263        filed 08/26/14      PageID.1221 Page 1 of 2
PROB 12C                                                                              Report Date: August 21, 2014
(7/93)

                                       United States District Court

                                                       for the

                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: James Lee Noga                           Case Number: 2:13CR06053-EFS-2
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Edward F. Shea, Senior U.S. District Judge
 Date of Original Sentence: February 27, 2014
 Original Offense:        Misprision of Felony, 18 U.S.C. § 4
 Original Sentence:       Probation - 12 months             Type of Supervision: Probation
 Asst. U.S. Attorney:     Alexander Carl Ekstrom            Date Supervision Commenced: February 27, 2014
 Defense Attorney:        Alison Klare Guernsey             Date Supervision Expires: February 26, 2015


                                         PETITIONING THE COURT

                To issue a summons.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           1            Standard Condition # 7: The defendant shall refrain from excessive use of alcohol and
                        shall not purchase, possess, use, distribute, or administer any controlled substance or any
                        paraphernalia related to any controlled substance, except as prescribed by a physician.

                        Supporting Evidence: On June 24, 2014, James Lee Noga tested positive for the use of
                        methamphetamine.
           2            Special Condition # 16: Defendant shall participate in the home confinement program for
                        180 days. Defendant shall abide by all the requirements of the program, which will include
                        electronic monitoring or other location verification system. Defendant shall pay all or part
                        of the costs of the program based upon your ability to pay. Defendant is restricted to the
                        defendant’s residence every day from 9:00 p.m. to 6:00 a.m., or as directed by the
                        supervising officer.

                        Supporting Evidence: On August 7, 2014, James Lee Noga was not present at his residence
                        at the start of curfew at 9 p.m. Mr. Noga returned home at 10:00 p.m.

The U.S. Probation Office respectfully recommends the Court issue a summons requiring the defendant to appear
to answer to the allegations contained in this petition.
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Prob12C
Re: Noga, James Lee
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                                  I declare under penalty of perjury that the foregoing is true and correct.
                                                    Executed on:     08/21/2014
                                                                     s/Curtis G. Hare
                                                                     Curtis G. Hare
                                                                     U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [X ]     The Issuance of a Summons
 [ ]      Other

                                                                     Signature of Judicial Officer

                                                                      August 26, 2014
                                                                     Date
